 Fill in this information to identify your case:

 Debtor 1                   Gerald Edward Brazie, Jr
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF OREGON

 Case number           22-30180-dwh11
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          1,185,361.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             683,026.50

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,868,387.50

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $         10,707,301.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             161,150.00


                                                                                                                                     Your total liabilities $           10,868,451.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,950.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              20,923.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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                                                    Case 22-30180-dwh11                               Doc 27             Filed 02/25/22
 Debtor 1      Gerald Edward Brazie, Jr                                                   Case number (if known) 22-30180-dwh11

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

       9d. Student loans. (Copy line 6f.)                                                                 $

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


       9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information             page 2 of 2
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                                                Case 22-30180-dwh11               Doc 27        Filed 02/25/22
 Fill in this information to identify your case and this filing:

 Debtor 1                    Gerald Edward Brazie, Jr
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF OREGON

 Case number            22-30180-dwh11                                                                                                                           Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        14481 SE Wyeast Ave                                                            Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Damascus                          OR        97089-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $853,111.00                $853,111.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Tenancy by entireties
        Clackamas                                                                      Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Clackamas County RMV $853,111




Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
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                                                       Case 22-30180-dwh11                              Doc 27           Filed 02/25/22
 Debtor 1        Gerald Edward Brazie, Jr                                                                               Case number (if known)          22-30180-dwh11

       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply
       4242 SW Eleven Mile Ave                                                Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Gresham                           OR        97080-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $170,000.00                     $85,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Joint tenant
       Multnomah                                                              Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       1/2 interest - Multnomah County RMV $170,000
                                                                       .15 acres
                                                                       Property Tax Foreclosure judgment entered 10/28/20; redemption period
                                                                       expires 10/28/22


       If you own or have more than one, list here:
 1.3                                                                   What is the property? Check all that apply
       4260 SW Eleven Mile Rd.                                                Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Gresham                           OR        97080-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $162,250.00                     $81,125.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Joint tenant
       Multnomah                                                              Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       1/2 interest - Multnomah County RMV $162,250
                                                                       .13 acres
                                                                       Property Tax Foreclosure judgment entered 10/28/20; redemption period
                                                                       expires 10/28/22




Official Form 106A/B                                                      Schedule A/B: Property                                                                             page 2
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                                                      Case 22-30180-dwh11                      Doc 27           Filed 02/25/22
 Debtor 1        Gerald Edward Brazie, Jr                                                                               Case number (if known)          22-30180-dwh11

       If you own or have more than one, list here:
 1.4                                                                   What is the property? Check all that apply
       4146 SW Eleven Mile Ave                                                Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Gresham                           OR        97080-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $170,000.00                     $85,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Joint tenant
       Multnomah                                                              Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       1/2 interest - Multnomah County RMV $170,000
                                                                       .17 acres
                                                                       Property Tax Foreclosure judgment entered 10/28/20; redemption period
                                                                       expires 10/28/22


       If you own or have more than one, list here:
 1.5                                                                   What is the property? Check all that apply
       4168 SW Eleven Mile Ave                                                Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Gresham                           OR        97080-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $162,250.00                     $81,125.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Joint tenant
       Multnomah                                                              Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       1/2 interest - Multnomah County RMV $162,250
                                                                       .13 acres
                                                                       Property Tax Foreclosure judgment entered 10/28/20; redemption period
                                                                       expires 10/28/22


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                   $1,185,361.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                      Schedule A/B: Property                                                                             page 3
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                                                      Case 22-30180-dwh11                      Doc 27           Filed 02/25/22
 Debtor 1        Gerald Edward Brazie, Jr                                                                         Case number (if known)    22-30180-dwh11
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Buick                                     Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      Gran Sport                                      Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:       1965                                            Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 14481 SE Wyeast
         Ave, Damascas, OR 97089                                     Check if this is community property                       $125,000.00                $125,000.00
                                                                     (see instructions)



  3.2    Make:       Buick                                     Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      GS Stage 1                                      Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:       1972                                            Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 14481 SE Wyeast
         Ave, Damascas, OR 97089                                     Check if this is community property                        $50,000.00                  $50,000.00
                                                                     (see instructions)



  3.3    Make:       Triumph                                   Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      Sprint 955 Motorcycle                           Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:       2001                                            Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 14481 SE Wyeast
         Ave, Damascas, OR 97089                                     Check if this is community property                          $5,000.00                   $5,000.00
                                                                     (see instructions)



  3.4    Make:       Harley Davidson                           Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      Motorcycle                                      Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:       2003                                            Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 14481 SE Wyeast
         Ave, Damascas, OR 97089                                     Check if this is community property                          $8,000.00                   $8,000.00
                                                                     (see instructions)



  3.5    Make:       Triumph                                   Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      Sprint ST Motorcycle                            Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:       2003                                            Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 14481 SE Wyeast
         Ave, Damascas, OR 97089                                     Check if this is community property                          $5,000.00                   $5,000.00
                                                                     (see instructions)




Official Form 106A/B                                                       Schedule A/B: Property                                                                   page 4
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                                                Case 22-30180-dwh11                           Doc 27           Filed 02/25/22
 Debtor 1        Gerald Edward Brazie, Jr                                                                         Case number (if known)    22-30180-dwh11

  3.6    Make:       Mercedes                                  Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      C55                                             Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:       2006                                            Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
        Location: 14481 SE Wyeast
        Ave, Damascas, OR 97089                                      Check if this is community property                        $35,000.00                  $35,000.00
                                                                     (see instructions)



  3.7    Make:       Triumph                                   Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      Speed Four Motorcycle                           Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:       2006                                            Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
        Location: 14481 SE Wyeast
        Ave, Damascas, OR 97089                                      Check if this is community property                          $6,000.00                   $6,000.00
                                                                     (see instructions)



  3.8    Make:       Harley Davidson                           Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      Motorcycle                                      Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:       2007                                            Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
        Location: 14481 SE Wyeast
        Ave, Damascas, OR 97089                                      Check if this is community property                        $10,000.00                  $10,000.00
                                                                     (see instructions)



  3.9    Make:       Honda                                     Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      Motorcycle                                      Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:       2008                                            Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
        Location: 14481 SE Wyeast
        Ave, Damascas, OR 97089                                      Check if this is community property                          $5,000.00                   $5,000.00
                                                                     (see instructions)


  3.1
  0      Make:       Ford                                      Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      Super Snake                                     Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:       2010                                            Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
        Location: 14481 SE Wyeast
        Ave, Damascas, OR 97089                                      Check if this is community property                        $48,500.00                  $48,500.00
                                                                     (see instructions)


  3.1
  1      Make:       Ford                                      Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      F150 Raptor                                     Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:       2013                                            Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
        Location: 14481 SE Wyeast
        Ave, Damascas, OR 97089                                      Check if this is community property                        $20,000.00                  $20,000.00
                                                                     (see instructions)




Official Form 106A/B                                                       Schedule A/B: Property                                                                   page 5
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                                                Case 22-30180-dwh11                           Doc 27           Filed 02/25/22
 Debtor 1        Gerald Edward Brazie, Jr                                                                           Case number (if known)       22-30180-dwh11
  3.1
  2      Make:       Mercedes                                  Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      S Class                                         Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2015                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         417 Gambrel Ct, Franklin, TN
         37067                                                       Check if this is community property                              $90,000.00                 $90,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>               $407,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household goods and furnishings
                                    1/2 interest - total value $25,000                                                                                            $12,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Misc home electronics
                                    1/2 interest - total value $10,000                                                                                              $5,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Sports and Auto memorabilia                                                                                                     $5,000.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Sports and hobby equipment
                                    1/2 interest - total value $5,000                                                                                               $2,500.00


Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 6
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                                                Case 22-30180-dwh11                           Doc 27           Filed 02/25/22
 Debtor 1         Gerald Edward Brazie, Jr                                                                                        Case number (if known)   22-30180-dwh11
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                            1917 Glock 17 & American Arms 454 Casull                                                                                      $3,000.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Clothing                                                                                                                      $3,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Jewelry                                                                                                                       $5,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                              $36,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                 Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                     Cash                                 $2,000.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                                                  Columbia Bank - checking #0734
                                              17.1.                                               1/2 interest - total value $3,721                                       $1,860.50



                                              17.2.                                               Point West Credit Union - savings                                             $5.00


Official Form 106A/B                                                                       Schedule A/B: Property                                                              page 7
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                                                           Case 22-30180-dwh11                                        Doc 27   Filed 02/25/22
 Debtor 1        Gerald Edward Brazie, Jr                                                                Case number (if known)      22-30180-dwh11
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                        % of ownership:

                                         Senvoy, LLC (insolvent - liabilities exceed
                                         assets)                                                                99          %                      Unknown


                                         TKM Investment Properties, LLC (in
                                         receivership)                                                          99          %                      Unknown


                                         TKM Holdings, LLC (insolvent - liabilities exceed
                                         assets)
                                         (this entity holds the membership interest in
                                         TKM Land, LLC and TKM Portfolio, LLC)                                  99          %                      Unknown


                                         ZoAn Management, Inc. (insolvent - liabilities
                                         exceed assets)                                                         100         %                      Unknown


                                         Driver Resources, LLC (adimistratively
                                         dissolved)                                                             99          %                            $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:


                                      Security deposit for                  Elite Properties                                                       $5,000.00
                                      rental in TN


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

Official Form 106A/B                                                 Schedule A/B: Property                                                             page 8
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                                                Case 22-30180-dwh11                      Doc 27    Filed 02/25/22
 Debtor 1       Gerald Edward Brazie, Jr                                                               Case number (if known)   22-30180-dwh11
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
        Yes. Give specific information about them...

                                              The Gerald E. Brazie Jr Irrevocable Trust U/A/D May 9, 2008,
                                              Trustee: Kathie Brazie (assets: certain life insurance policies
                                              described below)                                                                                 Unknown


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                   Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         Potential tax refunds for 2019 (Federal),
                                                             2020 (State and Federal) and 2021
                                                             (State and Federal)                                                               Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                Beneficiary:                         Surrender or refund
                                                                                                                                   value:

                                         Northwestern Mutual - Adjustable
                                         Comp Life #1665 (net accumulated
                                         value on 2/22/22)
                                         Insured - Gerald E. Brazie Jr; Owner -
                                         Gerald E. Brazie Jr.                                 Kathie S. Brazie                               $53,792.00




Official Form 106A/B                                                 Schedule A/B: Property                                                         page 9
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                                                Case 22-30180-dwh11                  Doc 27      Filed 02/25/22
 Debtor 1       Gerald Edward Brazie, Jr                                                             Case number (if known)   22-30180-dwh11


                                         Northwestern Mutual - Adjustable
                                         Comp Life #0948 (net accumulated
                                         value on 2/2/22)
                                         Insured - Gerald E. Brazie Jr; Owner -
                                         Gerald E. Brazie Jr.                                 Kathie S. Brazie                            $43,219.00


                                         Northwestern Mutual - Variable Comp
                                         Life #9005 (net accumulated value as of
                                         2/22/22)
                                         Insured - Gerald E. Brazie Jr; Owner -
                                         Gerald E. Brazie Jr.                                 Kathie S. Brazie                            $58,908.00


                                         Northwestern Mutual - Adjustable
                                         Complife #8304 (net accumulated value
                                         as of 2/22/22)
                                         Insured - Gerald E. Brzie Jr; Beneficiary
                                         - Kathrynne S Brazie Trustee Or                      Kathrynne S Brazie
                                         Successor Trustee Of The Gerald E.                   Trustee Or Successor
                                         Brazie Jr Irrevocable Trust U/A/D May                Trustee Of The Gerald
                                         9, 2008;Owner - G Brazie Jr Irr Trust                E. Brazie Jr Irrev                          $18,325.00


                                         Northwestern Mutual - 65 Life #4835
                                         (net accumulated value as of 2/22/22)
                                         Insured - Kyra Z. Brazie; Owner -
                                         Gerald E. Brazie Jr.                                 Gerald E. Brazie Jr                         $10,258.00


                                         Northwestern Mutual - 65 Life #4807
                                         (net accumulated value as of 2/22/22)
                                         Insured - Trystn C. Brazie; Owner -
                                         Gerald E. Brazie Jr.                                 Gerald E. Brazie Jr                         $11,429.00


                                         Northwestern Mutual - 65 Life #4773
                                         (net accumulated value as of 2/22/22)
                                         Insured - Max M. Brazie; Owner -
                                         Gerald E. Brazie Jr.                                 Gerald E. Brazie Jr                         $10,254.00


                                         Northwestern Mutual - Adjustale
                                         Complife #2616 (net accumulated value
                                         as of 2/22/22, $140,158)
                                         Insured - Kathrynne S. Brazie; Owner -
                                         Kathrynne S. Brazie                                  Jerry E. Brazie                                     $0.00


                                         Transamerica - UL Fixed #4035 (net
                                         accumulated value on 2/25/22)
                                         Insured - Gerald E. Brazie Jr; Owner - G
                                         Brazie Jr Trust DTD 050908                           Trust Dated 0509208                         $15,076.00


                                         Banner Life Insurance - Continuity UL                Primary: Gerald E
                                         100 #7729 (net accumulated value on                  Brazie Jr Irr Trust Dted
                                         2/14/22)                                             050908;
                                         Insured - Gerald E. Brazie Jr; Owner -               Contingent:Kathrynne
                                         Gerald E. Brazie Jr.                                 S Brazie                                      $9,400.00




Official Form 106A/B                                                 Schedule A/B: Property                                                      page 10
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                                                Case 22-30180-dwh11                  Doc 27     Filed 02/25/22
 Debtor 1         Gerald Edward Brazie, Jr                                                                                              Case number (if known)   22-30180-dwh11
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................            $239,526.50


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................            $1,185,361.00
 56. Part 2: Total vehicles, line 5                                                                         $407,500.00
 57. Part 3: Total personal and household items, line 15                                                     $36,000.00
 58. Part 4: Total financial assets, line 36                                                                $239,526.50
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $683,026.50               Copy personal property total          $683,026.50

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,868,387.50

Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 11
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                                                      Case 22-30180-dwh11                                   Doc 27              Filed 02/25/22
 Debtor 1       Gerald Edward Brazie, Jr                                                         Case number (if known)   22-30180-dwh11




Official Form 106A/B                                                 Schedule A/B: Property                                                  page 12
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                                                Case 22-30180-dwh11                  Doc 27   Filed 02/25/22
 Fill in this information to identify your case:

 Debtor 1                 Gerald Edward Brazie, Jr
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON

 Case number           22-30180-dwh11
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      Household goods and furnishings                                $12,500.00                                  $3,000.00     ORS § 18.345(1)(f)
      1/2 interest - total value $25,000
      Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      1917 Glock 17 & American Arms 454                               $3,000.00                                  $1,000.00     ORS § 18.362
      Casull
      Line from Schedule A/B: 10.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit

      Clothing                                                        $3,000.00                                  $1,800.00     ORS § 18.345(1)(b)
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Columbia Bank - checking #0734                                  $1,860.50                                    $400.00     ORS § 18.345(1)(p)
      1/2 interest - total value $3,721
      Line from Schedule A/B: 17.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit

      Security deposit for rental in TN:                              $5,000.00                                  $5,000.00     ORS §§ 18.395, 18.402
      Elite Properties
      Line from Schedule A/B: 22.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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                                                Case 22-30180-dwh11                     Doc 27          Filed 02/25/22
 Debtor 1    Gerald Edward Brazie, Jr                                                                    Case number (if known)     22-30180-dwh11
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Northwestern Mutual - Adjustable                                $53,792.00                                       100%        ORS §§ 743.046, 732.240
     Comp Life #1665 (net accumulated
     value on 2/22/22)                                                                     100% of fair market value, up to
     Insured - Gerald E. Brazie Jr; Owner -                                                any applicable statutory limit
     Gerald E. Brazie Jr.
     Beneficiary: Kathie S. Brazie
     Line from Schedule A/B: 31.1

     Northwestern Mutual - Adjustable                                $43,219.00                                       100%        ORS §§ 743.046, 732.240
     Comp Life #0948 (net accumulated
     value on 2/2/22)                                                                      100% of fair market value, up to
     Insured - Gerald E. Brazie Jr; Owner -                                                any applicable statutory limit
     Gerald E. Brazie Jr.
     Beneficiary: Kathie S. Brazie
     Line from Schedule A/B: 31.2

     Northwestern Mutual - Variable                                  $58,908.00                                       100%        ORS §§ 743.046, 732.240
     Comp Life #9005 (net accumulated
     value as of 2/22/22)                                                                  100% of fair market value, up to
     Insured - Gerald E. Brazie Jr; Owner -                                                any applicable statutory limit
     Gerald E. Brazie Jr.
     Beneficiary: Kathie S. Brazie
     Line from Schedule A/B: 31.3

     Northwestern Mutual - Adjustable                                $18,325.00                                       100%        ORS §§ 743.046, 732.240
     Complife #8304 (net accumulated
     value as of 2/22/22)                                                                  100% of fair market value, up to
     Insured - Gerald E. Brzie Jr;                                                         any applicable statutory limit
     Beneficiary - Kathrynne S Brazie
     Trustee Or Successor Trustee Of The
     Gerald E. Brazie Jr Irrevocable Trust
     U/A/D May 9, 2008;Owner - G Braz
     Line from Schedule A/B: 31.4

     Northwestern Mutual - 65 Life #4835                             $10,258.00                                       100%        ORS §§ 743.046, 732.240
     (net accumulated value as of 2/22/22)
     Insured - Kyra Z. Brazie; Owner -                                                     100% of fair market value, up to
     Gerald E. Brazie Jr.                                                                  any applicable statutory limit
     Beneficiary: Gerald E. Brazie Jr
     Line from Schedule A/B: 31.5

     Northwestern Mutual - 65 Life #4807                             $11,429.00                                       100%        ORS §§ 743.046, 732.240
     (net accumulated value as of 2/22/22)
     Insured - Trystn C. Brazie; Owner -                                                   100% of fair market value, up to
     Gerald E. Brazie Jr.                                                                  any applicable statutory limit
     Beneficiary: Gerald E. Brazie Jr
     Line from Schedule A/B: 31.6

     Northwestern Mutual - 65 Life #4773                             $10,254.00                                       100%        ORS §§ 743.046, 732.240
     (net accumulated value as of 2/22/22)
     Insured - Max M. Brazie; Owner -                                                      100% of fair market value, up to
     Gerald E. Brazie Jr.                                                                  any applicable statutory limit
     Beneficiary: Gerald E. Brazie Jr
     Line from Schedule A/B: 31.7




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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                                                Case 22-30180-dwh11                     Doc 27          Filed 02/25/22
 Debtor 1    Gerald Edward Brazie, Jr                                                                    Case number (if known)     22-30180-dwh11
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Northwestern Mutual - Adjustale                                        $0.00                                     100%        ORS §§ 743.046, 732.240
     Complife #2616 (net accumulated
     value as of 2/22/22, $140,158)                                                        100% of fair market value, up to
     Insured - Kathrynne S. Brazie;                                                        any applicable statutory limit
     Owner - Kathrynne S. Brazie
     Beneficiary: Jerry E. Brazie
     Line from Schedule A/B: 31.8

     Transamerica - UL Fixed #4035 (net                              $15,076.00                                       100%        ORS §§ 743.046, 732.240
     accumulated value on 2/25/22)
     Insured - Gerald E. Brazie Jr; Owner -                                                100% of fair market value, up to
     G Brazie Jr Trust DTD 050908                                                          any applicable statutory limit
     Beneficiary: Trust Dated 0509208
     Line from Schedule A/B: 31.9

     Banner Life Insurance - Continuity                               $9,400.00                                       100%        ORS §§ 743.046, 732.240
     UL 100 #7729 (net accumulated value
     on 2/14/22)                                                                           100% of fair market value, up to
     Insured - Gerald E. Brazie Jr; Owner -                                                any applicable statutory limit
     Gerald E. Brazie Jr.
     Beneficiary: Primary: Gerald E Brazie
     Jr Irr Trust Dted 050908;
     Contingent:Kathrynne S Brazie
     Line from Schedule A/B: 31.10


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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                                                Case 22-30180-dwh11                     Doc 27          Filed 02/25/22
 Fill in this information to identify your case:

 Debtor 1                   Gerald Edward Brazie, Jr
                            First Name                       Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON

 Case number           22-30180-dwh11
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Atlas Financial Services                  Describe the property that secures the claim:                  $3,690.00             $853,111.00                     $0.00
         Creditor's Name                           14481 SE Wyeast Ave Damascus,
                                                   OR 97089 Clackamas County
                                                   Clackamas County RMV $853,111
                                                   As of the date you file, the claim is: Check all that
         PO Box 1180                               apply.
         Vancouver, WA 98666                           Contingent
         Number, Street, City, State & Zip Code        Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
       Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.2     Compass Group, LLC                        Describe the property that secures the claim:              $493,234.00               $332,250.00         $194,700.00
         Creditor's Name                           4242 & 4260 SW Eleven Mile Ave,
                                                   Gresham, OR
                                                   As of the date you file, the claim is: Check all that
         PO Box 1419                               apply.
         Battle Ground, WA 98604                       Contingent
         Number, Street, City, State & Zip Code        Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)

       Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
       Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 8
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                                                  Case 22-30180-dwh11                         Doc 27        Filed 02/25/22
 Debtor 1 Gerald Edward Brazie, Jr                                                                            Case number (if known)   22-30180-dwh11
               First Name                  Middle Name                      Last Name


         Multnomah County Tax
 2.3                                                Describe the property that secures the claim:                      $8,943.00        $170,000.00               $0.00
         Assessor
         Creditor's Name                            4146 SW Eleven Mile Ave Gresham,
                                                    OR 97080 Multnomah County
                                                    1/2 interest - Multnomah County
                                                    RMV $170,000
                                                    .17 acres
                                                    Property Tax Foreclosure judgment
         c/o Michael Vaughn, Tax                    entered 10/28/20; redemption period
         Assessor                                   expires 10/28/22
                                                    As of the date you file, the claim is: Check all that
         PO Box 2716                                apply.
         Portland, OR 97208-2716                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         3773

         Multnomah County Tax
 2.4                                                Describe the property that secures the claim:                      $8,943.00        $170,000.00               $0.00
         Assessor
         Creditor's Name                            4242 SW Eleven Mile Ave Gresham,
                                                    OR 97080 Multnomah County
                                                    1/2 interest - Multnomah County
                                                    RMV $170,000
                                                    .15 acres
                                                    Property Tax Foreclosure judgment
         c/o Michael Vaughn, Tax                    entered 10/28/20; redemption period
         Assessor                                   expires 10/28/22
                                                    As of the date you file, the claim is: Check all that
         PO Box 2716                                apply.
         Portland, OR 97208-2716                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         3776




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 8
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                                                  Case 22-30180-dwh11                           Doc 27            Filed 02/25/22
 Debtor 1 Gerald Edward Brazie, Jr                                                                            Case number (if known)   22-30180-dwh11
               First Name                  Middle Name                      Last Name


         Multnomah County Tax
 2.5                                                Describe the property that secures the claim:                      $8,545.00        $162,250.00               $0.00
         Assessor
         Creditor's Name                            4168 SW Eleven Mile Ave Gresham,
                                                    OR 97080 Multnomah County
                                                    1/2 interest - Multnomah County
                                                    RMV $162,250
                                                    .13 acres
                                                    Property Tax Foreclosure judgment
         c/o Michael Vaughn, Tax                    entered 10/28/20; redemption period
         Assessor                                   expires 10/28/22
                                                    As of the date you file, the claim is: Check all that
         PO Box 2716                                apply.
         Portland, OR 97208-2716                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         3774

         Multnomah County Tax
 2.6                                                Describe the property that secures the claim:                      $8,545.00        $162,250.00               $0.00
         Assessor
         Creditor's Name                            4260 SW Eleven Mile Rd. Gresham,
                                                    OR 97080 Multnomah County
                                                    1/2 interest - Multnomah County
                                                    RMV $162,250
                                                    .13 acres
                                                    Property Tax Foreclosure judgment
         c/o Michael Vaughn, Tax                    entered 10/28/20; redemption period
         Assessor                                   expires 10/28/22
                                                    As of the date you file, the claim is: Check all that
         PO Box 2716                                apply.
         Portland, OR 97208-2716                         Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         3777




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 8
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                                                  Case 22-30180-dwh11                           Doc 27            Filed 02/25/22
 Debtor 1 Gerald Edward Brazie, Jr                                                                            Case number (if known)   22-30180-dwh11
               First Name                  Middle Name                      Last Name


 2.7     Point West Credit Union                    Describe the property that secures the claim:                      $2,980.00         $48,500.00               $0.00
         Creditor's Name                            2010 Ford Super Snake
                                                    Location: 14481 SE Wyeast Ave,
                                                    Damascas, OR 97089
                                                    As of the date you file, the claim is: Check all that
         PO Box 11999                               apply.
         Portland, OR 97211                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.8     Point West Credit Union                    Describe the property that secures the claim:                    $14,592.00          $20,000.00               $0.00
         Creditor's Name                            2013 Ford F150 Raptor
                                                    Location: 14481 SE Wyeast Ave,
                                                    Damascas, OR 97089
                                                    As of the date you file, the claim is: Check all that
         PO Box 11999                               apply.
         Portland, OR 97211                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.9     Point West Credit Union                    Describe the property that secures the claim:                    $57,854.00          $90,000.00               $0.00
         Creditor's Name                            2015 Mercedes S Class
                                                    417 Gambrel Ct, Franklin, TN 37067
                                                    As of the date you file, the claim is: Check all that
         PO Box 11999                               apply.
         Portland, OR 97211                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 4 of 8
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                                                  Case 22-30180-dwh11                           Doc 27            Filed 02/25/22
 Debtor 1 Gerald Edward Brazie, Jr                                                                            Case number (if known)   22-30180-dwh11
               First Name                  Middle Name                      Last Name


 2.1                                                                                                                                                    $5,428,164.0
 0       SBF Holding, LLC                           Describe the property that secures the claim:                 $6,038,585.00         $978,111.00                0
         Creditor's Name                            14481 SE Wyeast Ave, Damascas,
         Sunstone Business                          OR 97089, 1965 Buick Grand Sport
         Finance, LLC
         5 Centerpoint Drive, Ste                   As of the date you file, the claim is: Check all that
                                                    apply.
         400                                             Contingent
         Lake Oswego, OR 97035
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1
 1       Select Portfolio Servicing                 Describe the property that secures the claim:                   $315,635.00         $853,111.00               $0.00
         Creditor's Name                            14481 SE Wyeast Ave Damascus,
         Servicer for Suntrust                      OR 97089 Clackamas County
         Mortgage, Inc.                             Clackamas County RMV $853,111
                                                    As of the date you file, the claim is: Check all that
         PO Box 65250                               apply.
         Salt Lake City, UT 84165                        Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          1/21/2005                   Last 4 digits of account number         1867

 2.1
 2       Suntrust Bank                              Describe the property that secures the claim:                    $48,365.00         $853,111.00               $0.00
         Creditor's Name                            14481 SE Wyeast Ave Damascus,
                                                    OR 97089 Clackamas County
                                                    Clackamas County RMV $853,111
                                                    As of the date you file, the claim is: Check all that
         PO Box 79282                               apply.
         Baltimore, MD 21279                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          1/21/05                     Last 4 digits of account number         0204


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 5 of 8
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                                                  Case 22-30180-dwh11                           Doc 27            Filed 02/25/22
 Debtor 1 Gerald Edward Brazie, Jr                                                                            Case number (if known)        22-30180-dwh11
               First Name                  Middle Name                      Last Name


 2.1
 3       Umpqua Bank                                Describe the property that secures the claim:                   $497,390.00                $132,000.00         $365,390.00
         Creditor's Name                            Vehicles - see Exhibit A

                                                    As of the date you file, the claim is: Check all that
         PO Box 1820                                apply.
         Roseburg, OR 97470                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
       Debtor 1 only                                     An agreement you made (such as mortgage or secured
       Debtor 2 only                                      car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
       At least one of the debtors and another           Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          10/15/19                    Last 4 digits of account number


 2.1                                                                                                                                                              $3,200,000.0
 4       US Dept. of Labor                          Describe the property that secures the claim:                 $3,200,000.00             $1,842,111.00                    0
         Creditor's Name                            4146, 4168, 4242, 4260 SW Eleven
                                                    Mile Ave, Gresham, OR; 14481 SE
                                                    Wyeast Ave, Damascas, OR
                                                    As of the date you file, the claim is: Check all that
         200 Constitution Ave NW                    apply.
         Washington, DC 20210                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
       Debtor 1 only                                     An agreement you made (such as mortgage or secured
       Debtor 2 only                                      car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
       At least one of the debtors and another           Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                $10,707,301.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                               $10,707,301.00

 Part 2:      List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

 [ ]
            Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
            Atlas Financial Services
            Registrant: We Collect, Inc.                                                              Last 4 digits of account number
            c/o Mark Passannante, RA
            806 SW Broadway, Ste 1200
            Portland, OR 97205




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 6 of 8
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                                                  Case 22-30180-dwh11                           Doc 27            Filed 02/25/22
Gerald E. Brazie, Jr
Case No: 22‐30180‐dwh11

Schedule D
Umpqua Bank: Description of Property

1972 Buick GS Stage 1 Convertible
(Custom Show Car)
2001 Triumph Sprint 955 (Motorcycle)
2002 Ford F150 Lightning
2003 Harley Davidson
2003 Triumph Sprint ST (Motorcycle)
2006 Mercedes
2006 Triumph Speed Four (Motorcycle)
2007 Harley Davidson
2008 Honda (Motorcycle)




                Case 22-30180-dwh11    Doc 27   Filed 02/25/22
 Debtor 1 Gerald Edward Brazie, Jr                                                       Case number (if known)          22-30180-dwh11
              First Name                Middle Name                  Last Name


 [ ]
          Name, Number, Street, City, State & Zip Code                             On which line in Part 1 did you enter the creditor?   2.14
          Attorney General of United States
          950 Pennsylvania Ave. NW                                                 Last 4 digits of account number
          Washington, DC 20530

 [ ]
          Name, Number, Street, City, State & Zip Code                             On which line in Part 1 did you enter the creditor?   2.2
          Compass Group, LLC
          c/o Monty Anderson, RA                                                   Last 4 digits of account number
          PO Box 1419
          Battle Ground, WA 98604

 [ ]
          Name, Number, Street, City, State & Zip Code                             On which line in Part 1 did you enter the creditor?   2.14
          Norman E. Garcia, Senior Trial Atty
          Office of the Solicitor                                                  Last 4 digits of account number
          United States Department of Labor
          90 Seventh St, Rm 3-700
          San Francisco, CA 94103

 [ ]
          Name, Number, Street, City, State & Zip Code                             On which line in Part 1 did you enter the creditor?   2.7
          Point West Credit Union
          c/o Amy Nelson, President & CEO                                          Last 4 digits of account number
          1107 NE 9th Ave #108
          Portland, OR 97232

 [ ]
          Name, Number, Street, City, State & Zip Code                             On which line in Part 1 did you enter the creditor?   2.10
          SBF Holding, LLC
          c/o Dann Wheeler, RA                                                     Last 4 digits of account number
          5 Centerpointe Dr, Ste 400
          Lake Oswego, OR 97035

 [ ]
          Name, Number, Street, City, State & Zip Code                             On which line in Part 1 did you enter the creditor?   2.11
          Select Portfolio Servicing
          c/o Corporation Service Company, RA                                      Last 4 digits of account number
          1127 Broadway St NE, Ste 310
          Salem, OR 97301

 [ ]
          Name, Number, Street, City, State & Zip Code                             On which line in Part 1 did you enter the creditor?   2.12
          Suntrust Bank
          nka Truist Financial Corporation                                         Last 4 digits of account number
          c/o William H. Rogers, CEO & President
          214 North Tryon Street
          Charlotte, NC 28202

 [ ]
          Name, Number, Street, City, State & Zip Code                             On which line in Part 1 did you enter the creditor?   2.12
          SunTrust Bank
          c/o William H. Rogers, Jr., (CEO)                                        Last 4 digits of account number
          303 Peachtree St NE
          Atlanta, GA 30308

 [ ]
          Name, Number, Street, City, State & Zip Code                             On which line in Part 1 did you enter the creditor?   2.12
          Suntrust Bk
          Attn: Bankruptcy                                                         Last 4 digits of account number
          Mail Code VA-RVW-6290 POB 8509
          Richmond, VA 23286




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 7 of 8
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                                                Case 22-30180-dwh11              Doc 27       Filed 02/25/22
 Debtor 1 Gerald Edward Brazie, Jr                                                       Case number (if known)          22-30180-dwh11
              First Name                Middle Name                  Last Name


 [ ]
          Name, Number, Street, City, State & Zip Code                             On which line in Part 1 did you enter the creditor?   2.13
          Umpqua Bank
          c/o Cort O'Haver, President & CEO                                        Last 4 digits of account number
          445 SE Main St
          Roseburg, OR 97470

 [ ]
          Name, Number, Street, City, State & Zip Code                             On which line in Part 1 did you enter the creditor?   2.13
          Umpqua Bank
          c/o Lee C. Nusich                                                        Last 4 digits of account number
          601 SW 2nd Ave
          Portland, OR 97204




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 8 of 8
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                                                Case 22-30180-dwh11              Doc 27       Filed 02/25/22
 Fill in this information to identify your case:

 Debtor 1                     Gerald Edward Brazie, Jr
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF OREGON

 Case number           22-30180-dwh11
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
              Clackamas County Assessment &
 2.1          Taxation                                               Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              c/o Tami Little, Assessor                              When was the debt incurred?
              150 Beavercreek Rd
              Oregon City, OR 97045
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Precautionary - personal property taxes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 14
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                                                Case 22-30180-dwh11                            Doc 27           Filed 02/25/22
 Debtor 1 Gerald Edward Brazie, Jr                                                                         Case number (if known)          22-30180-dwh11

 2.2      IRS                                                        Last 4 digits of account number                               $0.00           $0.00               $0.00
          Priority Creditor's Name
          Attn: Attorney General of United                           When was the debt incurred?
          States
          950 Pennsylvania Ave. NW
          Washington, DC 20530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Precautionary

 2.3      IRS                                                        Last 4 digits of account number                               $0.00           $0.00               $0.00
          Priority Creditor's Name
          Attn: Civil Process Clerk                                  When was the debt incurred?
          U.S. Attorney, District of Oregon
          1000 SW 3rd, #600
          Portland, OR 97204-2936
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Precautionary

 2.4      IRS                                                        Last 4 digits of account number                               $0.00           $0.00               $0.00
          Priority Creditor's Name
          Centralized Insolvency Operation                           When was the debt incurred?
          P. O. Box 7346
          Philadelphia, PA 19101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Precautionary




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 2 of 14
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                                                Case 22-30180-dwh11                            Doc 27           Filed 02/25/22
 Debtor 1 Gerald Edward Brazie, Jr                                                                         Case number (if known)          22-30180-dwh11

 2.5       ODR                                                       Last 4 digits of account number                               $0.00           $0.00               $0.00
           Priority Creditor's Name
           ATTN: Bankruptcy Unit                                     When was the debt incurred?
           955 Center St NE
           Salem, OR 97301
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Precautionary

 2.6       ODR                                                       Last 4 digits of account number                               $0.00           $0.00               $0.00
           Priority Creditor's Name
           c/o Ellen Rosenblum, Attorney                             When was the debt incurred?
           General
           Oregon Department of Justice
           1162 Court St, NE
           Salem, OR 97301-4096
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Precautionary

 2.7       State of Oregon                                           Last 4 digits of account number                               $0.00           $0.00               $0.00
           Priority Creditor's Name
           c/o Ellen Rosenblum, Attorney                             When was the debt incurred?
           General
           Oregon Department of Justice
           1162 Court St, NE
           Salem, OR 97301-4096
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Precautionary


 Part 2:      List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 3 of 14
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                                                Case 22-30180-dwh11                            Doc 27           Filed 02/25/22
 Debtor 1 Gerald Edward Brazie, Jr                                                                         Case number (if known)            22-30180-dwh11

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        American Express                                          Last 4 digits of account number                                                                   $70,000.00
            Nonpriority Creditor's Name
            PO Box 981535                                             When was the debt incurred?
            El Paso, TX 79998-1535
            Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
            debt                                                         Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify    Credit card


 4.2        Atmos Energy                                              Last 4 digits of account number                                                                           $0.00
            Nonpriority Creditor's Name
            PO Box 740353                                             When was the debt incurred?
            Cincinnati, OH 45274
            Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
            debt                                                         Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify    Notice Only


 4.3        Capital One                                               Last 4 digits of account number         8287                                                      $16,059.00
            Nonpriority Creditor's Name
            Attn: Bankruptcy                                                                                  Opened 11/00 Last Active
            Po Box 30285                                              When was the debt incurred?             01/22
            Salt Lake City, UT 84130
            Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
            debt                                                         Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify    Charge Account



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 Debtor 1 Gerald Edward Brazie, Jr                                                                       Case number (if known)         22-30180-dwh11

 4.4      Capital One                                                Last 4 digits of account number       0830                                            $10,990.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 06/03 Last Active
          Po Box 30285                                               When was the debt incurred?           1/10/22
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.5      City of Franklin                                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 306097                                              When was the debt incurred?
          Nashville, TN 37230
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.6      City of Portland                                           Last 4 digits of account number                                                         $2,512.00
          Nonpriority Creditor's Name
          c/o Professional Credit Service                            When was the debt incurred?
          PO Box 7637
          Springfield, OR 97475
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         TO BE ADDED BY AMENDMENT
              Yes                                                       Other. Specify   Business debt




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 4.7      City of Portland                                           Last 4 digits of account number       3885                                              $4,914.00
          Nonpriority Creditor's Name
          c/o Professional Credit Service                            When was the debt incurred?
          PO Box 7637
          Springfield, OR 97475
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         TO BE ADDED BY AMENDMENT
              Yes                                                       Other. Specify   Business debt


 4.8      City of Portland                                           Last 4 digits of account number                                                       $21,698.00
          Nonpriority Creditor's Name
          c/o Professional Credit Service                            When was the debt incurred?
          400 International Way, Ste 100
          Springfield, OR 97477
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         TO BE ADDED BY AMENDMENT
              Yes                                                       Other. Specify   Business debt


 4.9      Comcast/Xfinity                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 71211                                               When was the debt incurred?
          Charlotte, NC 28272
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only




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 Debtor 1 Gerald Edward Brazie, Jr                                                                       Case number (if known)         22-30180-dwh11

 4.1
 0        Emergi-Trust PC                                            Last 4 digits of account number       3215                                              $2,134.00
          Nonpriority Creditor's Name
          PO Box 966                                                 When was the debt incurred?
          Indianapolis, IN 46206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         TO BE ADDED BY AMENDMENT
              Yes                                                       Other. Specify   Medical bill


 4.1
 1        Key Bank                                                   Last 4 digits of account number                                                         $9,500.00
          Nonpriority Creditor's Name
          PO Box 94932                                               When was the debt incurred?
          Cleveland, OH 44101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.1
 2        Middle Tennessee Electric                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 330008                                              When was the debt incurred?
          Murfreesboro, TN 37133
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only




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 4.1
 3        Milcroften Utility District                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          6333 Arno Rd                                               When was the debt incurred?
          Franklin, TN 37064
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.1
 4        PGE                                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 4438                                                When was the debt incurred?
          Portland, OR 97208
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.1
 5        Summit Leasing, Inc.                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 7                                                   When was the debt incurred?
          Yakima, WA 98907
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Corporate Precautionary




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 4.1
 6        Transverse LLC                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          5200 SW Macadam Ave, Ste 500                               When was the debt incurred?
          Portland, OR 97239
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Precautionary


 4.1
 7        US Small Business Administration                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1737 Gateway West, #300                                    When was the debt incurred?
          El Paso, TX 79935
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Corporate Precautionary


 4.1
 8        Uscb America                                               Last 4 digits of account number       1958                                              $1,723.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 05/19
          Po Box 74929
          Los Angeles, CA 90004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Kaiser Permanente Nw




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 4.1
 9        Uscb America                                               Last 4 digits of account number       0076                                              $1,538.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 08/19
          Po Box 74929
          Los Angeles, CA 90004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Kaiser Permanente Nw


 4.2
 0        Uscb America                                               Last 4 digits of account number       4708                                              $1,511.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 10/19 Last Active
          Po Box 74929                                               When was the debt incurred?           11/17/20
          Los Angeles, CA 90004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Kaiser Permanente Nw


 4.2
 1        Uscb America                                               Last 4 digits of account number       0832                                              $1,233.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 07/19
          Po Box 74929
          Los Angeles, CA 90004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Kaiser Permanente Nw




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 4.2
 2        Uscb America                                               Last 4 digits of account number       2693                                                $673.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 10/19 Last Active
          Po Box 74929                                               When was the debt incurred?           12/16/20
          Los Angeles, CA 90004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Kaiser Permanente Nw


 4.2
 3        Uscb America                                               Last 4 digits of account number       0837                                                $580.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 07/19
          Po Box 74929
          Los Angeles, CA 90004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Kaiser Permanente Nw


 4.2
 4        Uscb America                                               Last 4 digits of account number       3830                                                $257.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 08/19
          Po Box 74929
          Los Angeles, CA 90004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Kaiser Permanente Nw




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 4.2
 5         Williamson Medical Center                                 Last 4 digits of account number                                                         $5,068.00
           Nonpriority Creditor's Name
           4321 Carothers Pkwy                                       When was the debt incurred?
           Franklin, TN 37067
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         TO BE ADDED BY AMENDMENT
              Yes                                                       Other. Specify   Medical bill


 4.2
 6         Wilmington National Trust Assoc                           Last 4 digits of account number                                                         Unknown
           Nonpriority Creditor's Name
           Trustee: Morgan Stanley Bank                              When was the debt incurred?
           c/o Douglas Pahl
           1120 NW Couch St #10
           Portland, OR 97209
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Lawsuit
              Yes                                                       Other. Specify   Corporate Debt - Personal Guaranty


 4.2
 7         World's Foremost Bank/Cabela's                            Last 4 digits of account number       4904                                            $10,760.00
           Nonpriority Creditor's Name
           4800 Nw 1st Street                                                                              Opened 11/14 Last Active
           Suite 300                                                 When was the debt incurred?           1/18/22
           Lincoln, NE 68521
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card

 Part 3:      List Others to Be Notified About a Debt That You Already Listed


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 12 of 14
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                                                Case 22-30180-dwh11                         Doc 27           Filed 02/25/22
 Debtor 1 Gerald Edward Brazie, Jr                                                                       Case number (if known)          22-30180-dwh11
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Atmos Energy Services, LLC                                    Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 c/o Corporation Service Company,                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 RA
 2908 Poston Ave
 Nashville, TN 37230
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cabela's                                                      Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 82519                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Lincoln, NE 68501
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 City of Franklin                                              Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attn: Shawna Billingsley, City                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Attorney
 City Hall
 109 3rd Ave South
 Franklin, TN 37064
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Comcast of                                                    Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Kentucky/Tennesee/Virgia LLC                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 c/o CT Corp System, RA
 300 Montvue Rd
 Knoxville, TN 37919
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Middle Tennessee Electric                                     Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 SharingChange                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 c/o Cindy I Lane, RA
 555 New Salem Hwy
 Murfreesboro, TN 37129
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Milcroften Utility District                                   Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Danny Cotton, President                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 6333 Arno Rd.
 Franklin, TN 37064
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Transverse, LLC                                               Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Allison C Bizzano, Atty                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Lotus Law Group
 2 Centerpointe Dr Ste 345
 Lake Oswego, OR 97035
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Transverse, LLC                                               Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Matthew Goldberg, Atty                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Lotus Law Group
 2 Centerpointe Dr Ste 345
 Lake Oswego, OR 97035
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 13 of 14
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                                                Case 22-30180-dwh11                          Doc 27           Filed 02/25/22
 Debtor 1 Gerald Edward Brazie, Jr                                                                      Case number (if known)    22-30180-dwh11

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                     0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                        6b.      $                     0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                     0.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                     0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $              161,150.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $              161,150.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 14 of 14
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                                                Case 22-30180-dwh11                        Doc 27           Filed 02/25/22
 Fill in this information to identify your case:

 Debtor 1                  Gerald Edward Brazie, Jr
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF OREGON

 Case number           22-30180-dwh11
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                                                 Case 22-30180-dwh11                   Doc 27       Filed 02/25/22
 Fill in this information to identify your case:

 Debtor 1                   Gerald Edward Brazie, Jr
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF OREGON

 Case number            22-30180-dwh11
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Driver Resources, LLC                                                                Schedule D, line   2.14
                115 SE Yamhill St, 2nd Fl                                                            Schedule E/F, line
                97214,
                                                                                                     Schedule G
                                                                                                   US Dept. of Labor



    3.2         Driver Resources, LLC                                                                Schedule D, line   2.13
                115 SE Yamhill St, 2nd Fl                                                            Schedule E/F, line
                97214,
                                                                                                     Schedule G
                                                                                                   Umpqua Bank



    3.3         K & J Petrolium, LLC                                                                 Schedule D, line
                PO Box 14607                                                                         Schedule E/F, line     4.15
                Portland, OR 97293
                                                                                                     Schedule G
                                                                                                   Summit Leasing, Inc.




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 3
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                                                   Case 22-30180-dwh11             Doc 27        Filed 02/25/22
 Debtor 1 Gerald Edward Brazie, Jr                                                  Case number (if known)   22-30180-dwh11


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.4      K & J Petrolium, LLC                                                          Schedule D, line   2.13
             PO Box 14607                                                                  Schedule E/F, line
             Portland, OR 97293
                                                                                           Schedule G
                                                                                         Umpqua Bank



    3.5      Katherynne Brazie                                                             Schedule D, line
             PO Box 14607                                                                  Schedule E/F, line      4.15
             Portland, OR 97293
                                                                                           Schedule G
                                                                                         Summit Leasing, Inc.



    3.6      Katherynne Brazie                                                             Schedule D, line   2.10
             PO Box 14607                                                                  Schedule E/F, line
             Portland, OR 97293
                                                                                           Schedule G
                                                                                         SBF Holding, LLC



    3.7      Senvoy, LLC                                                                   Schedule D, line   2.14
             PO Box 14607                                                                  Schedule E/F, line
             Portland, OR 97293
                                                                                           Schedule G
                                                                                         US Dept. of Labor



    3.8      Senvoy, LLC                                                                   Schedule D, line
             PO Box 14607                                                                  Schedule E/F, line      4.15
             Portland, OR 97293
                                                                                           Schedule G
                                                                                         Summit Leasing, Inc.



    3.9      Senvoy, LLC                                                                   Schedule D, line
             PO Box 14607                                                                  Schedule E/F, line 4.17
             Portland, OR 97293
                                                                                           Schedule G
                                                                                         US Small Business Administration



    3.10     Senvoy, LLC                                                                   Schedule D, line   2.10
             PO Box 14607                                                                  Schedule E/F, line
             Portland, OR 97293
                                                                                           Schedule G
                                                                                         SBF Holding, LLC



    3.11     Senvoy, LLC                                                                   Schedule D, line   2.13
             PO Box 14607                                                                  Schedule E/F, line
             Portland, OR 97293
                                                                                           Schedule G
                                                                                         Umpqua Bank




Official Form 106H                                                   Schedule H: Your Codebtors                                   Page 2 of 3
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                                                Case 22-30180-dwh11      Doc 27      Filed 02/25/22
 Debtor 1 Gerald Edward Brazie, Jr                                                  Case number (if known)   22-30180-dwh11


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.12     TKM Investement Properties, LLC                                               Schedule D, line
             PO Box 14607                                                                  Schedule E/F, line  4.26
             Portland, OR 97293
                                                                                           Schedule G
                                                                                         Wilmington National Trust Assoc



    3.13     TKM Investement Properties, LLC                                               Schedule D, line   2.13
             PO Box 14607                                                                  Schedule E/F, line
             Portland, OR 97293
                                                                                           Schedule G
                                                                                         Umpqua Bank



    3.14     TKM Land, LLC                                                                 Schedule D, line   2.10
             PO Box 14607                                                                  Schedule E/F, line
             Portland, OR 97293
                                                                                           Schedule G
                                                                                         SBF Holding, LLC



    3.15     ZoAn Management, Inc.                                                         Schedule D, line
             18055 NE San Rafael Street, 2nd Floor                                         Schedule E/F, line 4.17
             Portland, OR 97230
                                                                                           Schedule G
                                                                                         US Small Business Administration



    3.16     ZoAn Management, Inc.                                                         Schedule D, line   2.14
             18055 NE San Rafael Street, 2nd Floor                                         Schedule E/F, line
             Portland, OR 97230
                                                                                           Schedule G
                                                                                         US Dept. of Labor



    3.17     ZoAn Management, Inc.                                                         Schedule D, line   2.13
             18055 NE San Rafael Street, 2nd Floor                                         Schedule E/F, line
             Portland, OR 97230
                                                                                           Schedule G
                                                                                         Umpqua Bank




Official Form 106H                                                   Schedule H: Your Codebtors                                   Page 3 of 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy



                                                Case 22-30180-dwh11      Doc 27      Filed 02/25/22
Fill in this information to identify your case:

Debtor 1                      Gerald Edward Brazie, Jr

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF OREGON

Case number               22-30180-dwh11                                                                Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            Business owner
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Various businesses

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $            0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1

                                            Case 22-30180-dwh11               Doc 27        Filed 02/25/22
Debtor 1   Gerald Edward Brazie, Jr                                                              Case number (if known)    22-30180-dwh11


                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               0.00
     5e.    Insurance                                                                     5e.        $              0.00     $               0.00
     5f.    Domestic support obligations                                                  5f.        $              0.00     $               0.00
     5g.    Union dues                                                                    5g.        $              0.00     $               0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $      4,950.00         $               0.00
     8b. Interest and dividends                                                           8b.        $          0.00         $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
     8e. Social Security                                                                  8e.        $              0.00     $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          4,950.00         $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              4,950.00 + $             0.00 = $           4,950.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $           4,950.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                        page 2

                                      Case 22-30180-dwh11                    Doc 27       Filed 02/25/22
Fill in this information to identify your case:

Debtor 1                 Gerald Edward Brazie, Jr                                                          Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF OREGON                                                         MM / DD / YYYY

Case number           22-30180-dwh11
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  20                   Yes
                                                                                                                                             No
                                                                                   Daughter                             22                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             4,550.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1


                                          Case 22-30180-dwh11                      Doc 27         Filed 02/25/22
Debtor 1     Gerald Edward Brazie, Jr                                                                  Case number (if known)      22-30180-dwh11

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                200.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                125.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                325.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,000.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               100.00
10.   Personal care products and services                                                    10. $                                                200.00
11.   Medical and dental expenses                                                            11. $                                                100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  25.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                               3,000.00
      15b. Health insurance                                                                15b. $                                                 850.00
      15c. Vehicle insurance                                                               15c. $                                               3,000.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                 750.00
      17b. Car payments for Vehicle 2                                                      17b. $                                               1,497.00
      17c. Other. Specify: 3rd vehicle                                                     17c. $                                                 751.00
      17d. Other. Specify:                                                                 17d. $                                                   0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                               3,950.00
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:    Pet/vet                                                             21. +$                                               200.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      20,923.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      20,923.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,950.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             20,923.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                            -15,973.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2


                                          Case 22-30180-dwh11                       Doc 27          Filed 02/25/22
 Fill in this information to identify your case:

 Debtor 1                    Gerald Edward Brazie, Jr
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON

 Case number              22-30180-dwh11
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Gerald Edward Brazie, Jr                                              X
              Gerald Edward Brazie, Jr                                                  Signature of Debtor 2
              Signature of Debtor 1

              Date       February 25, 2022                                              Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                                                Case 22-30180-dwh11                 Doc 27        Filed 02/25/22
 Fill in this information to identify your case:

 Debtor 1                  Gerald Edward Brazie, Jr
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON

 Case number           22-30180-dwh11
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there
        14481 SE Wyeast Ave                                      From-To:                      Same as Debtor 1                                     Same as Debtor 1
        Damascus, OR 97089                                       1/05 - 11/2020                                                                  From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
                                                  *Income was returned to Senvoy, Inc. post-petition via credits and checks from the
               No                                 joint Columbia Bank account listed on Schedule A/B above.
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $31,600.31 *          Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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                                                Case 22-30180-dwh11                       Doc 27         Filed 02/25/22
 Debtor 1      Gerald Edward Brazie, Jr                                                                    Case number (if known)   22-30180-dwh11


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

 For last calendar year:                              Wages, commissions,                      $231,505.53 **         Wages, commissions,    **These include gross
 (January 1 to December 31, 2021 )                 bonuses, tips                                                   bonuses, tips             amounts paid to
                                                                                                                      Operating a business
                                                                                                                                             debtor whether in the
                                                       Operating a business
                                                                                                                                             form of distributions
                                                                                                                                             or draws and
                                                                                                  $5,500.00           Wages, commissions,
                                                      Wages, commissions,
                                                                                                                   bonuses, tips
                                                                                                                                             amounts paid to third
                                                   bonuses, tips
                                                                                                                                             parties on the
                                                       Operating a business                                           Operating a business   debtor’s behalf.
                                                                                                                                             Figures are subject to
 For the calendar year before that:                   Wages, commissions,                      $290,227.21 **         Wages, commissions,    final accounting and
 (January 1 to December 31, 2020 )                 bonuses, tips                                                   bonuses, tips             review for tax
                                                       Operating a business                                           Operating a business   purposes. Debtor also
                                                                                                                                             had income and
                                                      Wages, commissions,                       $89,913.28            Wages, commissions,    losses attributable on
                                                   bonuses, tips                                                   bonuses, tips             a tax basis that have
                                                                                                                      Operating a business
                                                                                                                                             yet to be fixed for tax
                                                       Operating a business
                                                                                                                                             purposes.

5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income           Gross income
                                                   Describe below.                  each source                    Describe below.             (before deductions
                                                                                    (before deductions and                                     and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Rental Income                                               $4,950.00
 the date you filed for bankruptcy:

 For last calendar year:                           Rental Income                                $64,350.00
 (January 1 to December 31, 2021 )

 For the calendar year before that:                Rental Income                                  $9,900.00
 (January 1 to December 31, 2020 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
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            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Select Portfolio Servicing                                11/2/21 - $3,515;            $10,545.00          $315,635.00         Mortgage
       PO Box 65250                                              12/3/21 - $3,515;                                                    Car
       Salt Lake City, UT 84165                                  1/3/22 - $3,515
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Elite Properties                                          Last 90 days -               $13,650.00                  $0.00       Mortgage
                                                                 monthly payments                                                     Car
                                                                 of $4,550                                                            Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other Monthly rental in
                                                                                                                                    TN


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name




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 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Walsh v. Senvoy, LLC et Al                                Labor: Fair                District of Oregon                          Pending
       16-CV02293                                                Standards;                                                             On appeal
                                                                 Contempt Action
                                                                                                                                        Concluded


       Transverse LLC vs TKM                                     Contract                   Multnomah County                            Pending
       Investment Properties, LLC, Gerald                                                                                               On appeal
       Brazie
                                                                                                                                        Concluded
       18CV48485

       Wilmington Trust National                                 Tort - General             Multnomah County                            Pending
       Association vs TKM Investment                                                                                                    On appeal
       Properties, LLC, Gerald E. Brazie
                                                                                                                                        Concluded
       19CV28989


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:




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14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                        Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your        Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                             lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Vanden Bos & Chapman, LLP                                     Attorney Fees                                            1/12/22 -                 $50,000.00
       319 SW Washington                                                                                                      $15,000;
       Suite 520                                                                                                              2/4/22 -
       Portland, OR 97204                                                                                                     $35,000
       doug@vbcattorneys.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
                                                                                                                              made
       Allen Credit and Debt Counseling                                                                                       2/1/22                         $25.00
       Agency
       20003 387th Ave
       Wolsey, SD 57384


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or         Date transfer was
       Address                                                       property transferred                       payments received or debts       made
                                                                                                                paid in exchange
       Person's relationship to you
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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       Person Who Received Transfer                                  Description and value of                   Describe any property or      Date transfer was
       Address                                                       property transferred                       payments received or debts    made
                                                                                                                paid in exchange
       Person's relationship to you
       Katherynne Brazie                                             Cash and other transfers of                Funds transferred used        W/in last 2
       PO Box 14607                                                  funds in deposit accounts in               to pay joint living           years
       Portland, OR 97293                                            excess of $60,000.00.                      expenses and personal
                                                                                                                expenses and
       Wife                                                                                                     obligations of the
                                                                                                                debtor.

       Arms Length Transaction                                       Debtor sold 1969 Chevy P/U                                               12/2021
                                                                     for $15,000. Funds were
                                                                     used to pay attorney fees
       No relation


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                        Date Transfer was
                                                                                                                                              made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was           Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,          before closing or
       Code)                                                                                                            moved, or                       transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                             have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                     have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       14481 SE Wyeast Ave                                                                                 Some vehicles are at the                  No
       Damascus, OR 97089                                                                                  house in Oregon as listed on              Yes
                                                                                                           Schedules A/B




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
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 Debtor 1      Gerald Edward Brazie, Jr                                                                         Case number (if known)   22-30180-dwh11


 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Son                                                           417 Gambrel Ct                             Debtor gave 2007 Jeep to son              Unknown
                                                                     Franklin, TN 37067                         more than 2 years ago but
                                                                                                                title was never changed to
                                                                                                                son's name.

       Senvoy, LLC                                                   14481 SE Wyeast Ave                        2002 Ford F150 Lightning                   $8,000.00
       PO Box 14607                                                  Damascus, OR 97089
       Portland, OR 97293

       Senvoy, LLC                                                   417 Gambrel Ct                             2018 Ford F150                            Unknown
       PO Box 14607                                                  Franklin, TN 37067
       Portland, OR 97293

       Senvoy, LLC                                                   417 Gambrel Ct                             2018 Ford Mustang Shelby                  Unknown
       PO Box 14607                                                  Franklin, TN 37067
       Portland, OR 97293

       Senvoy, LLC                                                   417 Gambrel Ct                             2013 Shelby Convertible                   $45,000.00
       PO Box 14607                                                  Franklin, TN 37067
       Portland, OR 97293


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




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26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                       Nature of the case                       Status of the
       Case Number                                                   Name                                                                           case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       Senvoy, LLC                                               Courier service                                 EIN:         XX-XXXXXXX
       PO Box 14607
       Portland, OR 97293                                                                                        From-To      3/1999 - current

       TKM Investment Properties, LLC                            Commercial Real Estate                          EIN:         XX-XXXXXXX
       c/o Daniel Boverman, RA                                   (assets in receivership)
       11285 SW Walker Rd.                                                                                       From-To      2/06 - 12/31/21
       Portland, OR 97225

       TKM Land, Inc.                                            Land development/ single                        EIN:         None
       PO Box 14607                                              member LLC wholly owned by
       Portland, OR 97293                                        TKM Holdings, LLC                               From-To      4/07 - current



       TKM Holdings, LLC                                         Development/Investment                          EIN:         XX-XXXXXXX
       PO Box 14607
       Portland, OR 97293                                                                                        From-To      8/08 - current

       K & J Petroleum, LLC                                      Gas station(s)/convenience                      EIN:         XX-XXXXXXX
       18055 NE San Rafael St, 2nd Fl                            store/car wash
       Portland, OR 97230                                        (administratively dissolved)                    From-To      2/7/07 - 4/11/2019



       Driver Resources, LLC                                     Courier services                                EIN:         XX-XXXXXXX
       115 SE Yamhill St, 2nd Fl                                 (administratively dissolved)
       97214                                                                                                     From-To      8/10/10 - 10/8/2020


       ZoAn Management, Inc.                                     Management Services                             EIN:         XX-XXXXXXX
       18055 NE San Rafael Street, 2nd
       Floor                                                                                                     From-To      4/09 - 12/21
       Portland, OR 97230



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        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        TKM Portfolio, Inc.                                      Land development/ single                        EIN:         XX-XXXXXXX
        PO Box 14607                                             member LLC wholly owned by
        Portland, OR 97293                                       TKM Holdings, LLC                               From-To      2/4/16 - 4/8/21
                                                                 (administratively dissolved)



        Pig Farm                                                 Pig farming business                            EIN:         5532
        14481 SE Wyeast Ave
        Damascus, OR 97089                                                                                       From-To      1/2005 - 12/31/2019


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        Umpqua Bank                                              W/in last 2 years
        PO Box 1820
        Roseburg, OR 97470

        US Dept. of Labor                                        W/in last 2 years
        200 Constitution Ave NW
        Washington, DC 20210

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Gerald Edward Brazie, Jr
 Gerald Edward Brazie, Jr                                                Signature of Debtor 2
 Signature of Debtor 1

 Date      February 25, 2022                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 9
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